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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

BAYWOOD RLTY & CONSTR. CORP.,                           )
                                                        )
                Plaintiff,                              )
                                                        )
        v.                                              )         No. 4:17CV22 RLW
                                                        )
NORTH SHORE COMMERCIAL                                  )
DOOR CO., et al.
                                                        )
                Defendants.                             )

                                     ORDER OF DISMISSAL

        Pursuant to the Voluntary Dismissal filed by the Plaintiff (ECF No. 19),

        IT IS HEREBY ORDERED that this cause of action is DISMISSED with prejudice,

with all parties to bear their own costs and attorneys ' fees .

Dated this 3rd day of April, 2017.


                                                     ~k~
                                                    RONNIE L. WHITE
                                                    UNITED STATES DISTRICT JUDGE
